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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                              Case No. 10-CR-0230(2) (PJS/FLN)

                       Plaintiff,

 v.                                                                  ORDER

 FRANCISCO JAVIER CARREON-
 GARCIA,

                       Defendant.


       Thomas M. Hollenhorst, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Katherian D. Roe, OFFICE OF THE FEDERAL DEFENDER, for defendant.

       On January 13, 2011, defendant Francisco Javier Carreon-Garcia pleaded guilty to

conspiracy to distribute marijuana. On September 27, 2011, the Court sentenced Carreon to

121 months in prison and 5 years of supervised release. The government has now filed a motion

pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure asking the Court to reduce

Carreon’s sentence to 80 months. Carreon does not object to the motion.

        Having reviewed the parties’ submissions, the Court finds that Carreon provided

substantial assistance in investigating and prosecuting other persons and that Carreon’s

substantial assistance involved information that he provided “to the government within one year

of sentencing, but which did not become useful to the government until more than one year after

sentencing.” Fed. R. Crim. P. 35(b)(2)(B). The government’s motion [ECF No. 942] is

therefore GRANTED, and Carreon’s sentence is amended to 80 months in prison.
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     SO ORDERED.

Dated: December 23, 2013              s/Patrick J. Schiltz
                                      Patrick J. Schiltz
                                      United States District Judge
